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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Hugo Rodriguez, et al.
                                  Plaintiff,
v.                                                 Case No.: 1:17−cv−03322
                                                   Honorable Sharon Johnson Coleman
Red Coat Farm, LTD., et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 2, 2018:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
held on 4/2/2018. Defendants' motion for settlement approval [24] is granted. No
appearance necessary on 4/5/2018. Case is dismissed without prejudice. If a motion to
reinstate is not filed by 5/31/2018, the case shall automatically convert to dismissal with
prejudice with no further order of the court. Civil case terminated. Mailed notice. (ym, )




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